
59 U.S. 602 (1855)
18 How. 602
JACOB STRADER AND OTHERS, PLAINTIFFS IN ERROR,
v.
CHRISTOPHER GRAHAM.
Supreme Court of United States.

At the present term, Mr. Crittenden, of counsel for the defendant in error, moved the court to amend the judgment entered in this cause at the December term, 1850, and to give a judgment for the costs in this court in favor of his client. Whereupon it is now here considered by the court that this court cannot give a judgment for costs in a case dismissed for want of jurisdiction, and it appearing to this court that this cause has been dismissed for want of jurisdiction, it is thereupon now here ordered by the court that the said motion be and the same is hereby overruled.
